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IN THE UNITED STATES DISTRICT COURT enon EER

FOR THE MIDDLE DISTRICT OF FLORIDA duZz0rEB -6 PM
TAMPA DIVISION

TAMPA, FLORIDA.

UNITED STATES OF AMERICA and
STATE OF FLORIDA ex rel.
CHARLES HURLEY,

Plaintiffs-Relators, Ie
v. Case No. 8:18-CV-1304-T-I7AAS
FILED UNDER SEAL

MOTIVATIONAL COACHES OF
AMERICA, INC.; WENTWORTH
HAMPSHIRE, INC; JULIO AVAEL,
an individual: and CHARITY SAVAGE,
an individual,

Defendants.
/

 

STATE OF FLORIDA’S NOTICE OF ELECTION TO DECLINE INTERVENTION
AND CONSENT TO VOLUNTARY DISMISSAL WITHOUT PREJUDICE
l. The State of Florida hereby notifies the Court of its decision not to intervene in this
action. Relators filed this action under the Federal False Claims Act, 31 U.S.C. §3729 et seq. and

the Florida False Claims Act, Fla. Stat. §68.081 ef seq.

2 Pursuant to Fla. Stat. §68.084, a relator is permitted to maintain an action on behalf

of the state after it has declined to intervene.

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3. In the event that relators file a Motion for Voluntary Dismissal Without Prejudice
as to the State of Florida but With Prejudice as to Relator, the state of Florida consents to such a

voluntary dismissal requested by the relators.
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4, The state of Florida reserves the right to request copies of orders, including opinions
issued by the Court. The state of Florida additionally reserves the right to order any deposition
transcripts, to move to intervene in this action, for good cause, at a later date, and to seek the
dismissal of the relators’ action or claims.

a: The state of Florida requests that this Notice of Election to Decline Intervention
and Consent to Voluntary Dismissal without Prejudice be unsealed to the public, along with the
Court's Order on this Declination, upon unsealing of the complaint by Court Order.

A proposed Order accompanies this Notice.
Dated: February 6, 2020

Respectfully Submitted,

ASHLEY MOODY

Attorney General of the State of Florida

   
  
 

By:

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ATTORNEY FOR THE STATE OF FLORIDA
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CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this 6" day of February 2020, a true and correct copy of the
foregoing has been served via electronic transmission to the following representative of the United
States and via U.S. Mail to Relator’s counsel of record.

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